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 1                                          HONORABLE MARY K. DIMKE
 2
     HEATHER C. YAKELY, WSBA #28848
 3
     Evans, Craven & Lackie, P.S.
 4   818 W. Riverside Ave., Suite 250
 5   Spokane, WA 99201-0910
 6
     (509) 455-5200; fax (509) 455-3632
 7   Attorneys for Defendants
 8
 9
10                     UNITED STATES DISTRICT COURT
11                FOR THE EASTERN DISTRICT OF WASHINGTON
12
13     ROBERT B. LUTZ, MD, MPH, a
14
       married man,                              Case No. 2:22-CV-0028-MKD
15
                                      Plaintiff, DEFENDANTS’ ANSWER TO
16     vs.                                       FIRST AMENDED COMPLAINT
17
       SPOKANE REGIONAL HEALTH
18
       DISTRICT,
19                      Defendants.
20
             COME NOW defendants, by and through the undersigned counsel of the
21
22   law firm of Evans, Craven & Lackie, P.S. and for Answer to the Plaintiff’s
23   Complaint, admits, denies and alleges as follows:
24
                                I.     INTRODUCTION
25
26           For answer to paragraph 1 of Plaintiff’s Complaint, to the extent this
27   paragraph sets forth any factual allegations, Defendants deny.
28
29
30
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 1                                   II.      PARTIES
 2
        1. For answer to paragraph 1 of Plaintiff’s Complaint, Defendants admit the
 3
 4         same.
 5      2. For answer to paragraph 2 of Plaintiff’s Complaint, Defendants admit the
 6
           same.
 7
 8
        3. For answer to paragraph 3 of Plaintiff’s Complaint, Defendants admit the
 9         same.
10
                         III.    JURISDICTION AND VENUE
11
12
        4. For answer to paragraph 4 of Plaintiff’s Complaint, Defendants admit the
13         same.
14
                       IV.      STATUTORY PRE-REQUISITES
15
        5. For answer to paragraph 5 of Plaintiff’s Complaint, Defendants admit the
16
17         same.
18
        6. For answer to paragraph 6 of Plaintiff’s Complaint, Defendants admit the
19
           same.
20
21                                     V.     FACTS
22
        7. For answer to paragraph 7 of Plaintiff’s Complaint, Defendants are without
23
           sufficient information to admit or deny and therefore deny the same.
24
25      Spokane Regional Health District
26      8. For answer to paragraph 7 of Plaintiff’s Complaint, Defendants are without
27
           sufficient information to admit or deny and therefore deny the same.
28
29
30
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 1      9. Defendants are without sufficient information to admit or deny and
 2
           therefore deny the same.
 3
 4      10. No answer is required, the duties are set forth in RCW 70.05.060 and
 5         70.46.060.
 6
        11. No answer is required, the duties are set forth in RCW 70.05.060 and
 7
 8
           70.46.060 except as to sovereign tribal nations and Indian Health programs
 9         to which there is insufficient information to admit or deny and therefore
10
           deny.
11
12
        12. No answer is required, the duties are set forth in RCW 70.05.060 and
13         70.46.060, to the extent those duties enumerated do not “require
14
           collaboration,” Defendant denies the same.
15
        13. Defendants are without sufficient information to admit or deny and
16
17         therefore deny the same, to the extent that SRHD has responsibilities they
18
           are set forth in RCW 70.05.060 and RCW 70.46.060.
19
        14. Deny to the extent that this paragraph alleges that SRHD is a state
20
21         function. The duties are set forth in RCW 70.05.060 and 70.46.060.
22
        15. Deny. The duties are set forth by Washington Statute.
23
        16. Deny. SRHD is a local health district formed under RCW 70.46. et seq.
24
25      17. Defendants are without sufficient information to admit or deny and
26         therefore deny.
27
        18.Admit that there are local public health departments and local health
28
29         districts in Washington State.        Defendants are without sufficient
30
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 1         information to admit or deny as to the characterization of “decentralized
 2
           governmental public health” and therefore denies the same.
 3
 4      19. Deny.
 5      20. Defendants are without sufficient information to admit or deny and
 6
           therefore deny the same.
 7
 8
        21. This paragraph calls for a legal conclusion and therefore no answer is
 9         required.
10
        22. This paragraph calls for a legal conclusion and therefore no answer is
11
12
           required.
13      23.This paragraph calls for a legal conclusion and therefore no answer is
14
           required.
15
        24. Deny.
16
17      25. Deny, the District is a municipal corporation.
18
        26. Without sufficient information to admit or deny and therefore deny the
19
           same, it is unclear if this allegation refers to pass through dollars.
20
21      27. Without sufficient information to admit or deny and therefore deny the
22
           same, it is unclear if this allegation refers to pass through dollars.
23
        28. Without sufficient information to admit or deny and therefore deny the
24
25         same, it is unclear if this allegation refers to pass through dollars.
26      29. Without sufficient information to admit or deny and therefore deny the
27
           same.
28
29
30
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 1      30. Without sufficient information to admit or deny and therefore deny the
 2
           same, it is unclear if this allegation refers to pass through dollars.
 3
 4      31. Admit the Board is a governing body, however deny the remainder of the
 5         paragraph as the Board does set public health policy for Spokane County.
 6
        32. Calls for a legal conclusion and no answer is required.
 7
 8
        33.Admit. .
 9      34. Defendants admit to the extent that the testimony if accurately quoted
10
           speaks for itself and no answer is required.
11
12
        35. Defendants admit to the extent that the testimony if accurately quoted
13         speaks for itself and no answer is required.
14
        36. Defendants admit to the extent that the testimony if accurately quoted
15
           speaks for itself and no answer is required.
16
17      37.This paragraph is vague and unclear. To that extent defendants are without
18
           sufficient information to admit or deny and therefore deny the same.
19
        38. Deny.
20
21      39. Without sufficient information to admit or deny and therefore deny the
22
           same.
23
        40.This paragraph calls for a legal conclusion and therefore no answer is
24
25         required.
26      41. Admit to the extent that SRHD provides reports to State Board of Health.
27
           Deny the remainder of the paragraph and affirmatively assert that SRHD’s
28
29         jurisdiction is Spokane County.
30
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 1      42. Admit.
 2
        43. Admit to the extent that there was no State requirement for a medical
 3
 4         provider to be on any local Health Board until 2021 per House Bill 1152.
 5      44. Deny to the extent that this paragraph seems to allude to a requirement.
 6
           There is no State Requirement that a Local Health Officer (“LHO”) is
 7
 8
           required to be “trained and experienced in public Health.”
 9      45. Admit to the extent that the position is required by State Statute.
10
        46. Admit to the extent that the position is required by State Statute.
11
12
        47. Admit that the qualifications are set forth by Washington Statute.
13      48. Calls for a legal conclusion, and no answers are required. RCW 70.05.053
14
           sets forth the rules for provision health officers.
15
        49. This paragraph calls for a legal conclusion and therefore no answer is
16
17         required.
18
        50. Without sufficient information to admit or deny and therefore denies the
19
           same.
20
21      51. Admit
22
        52. Deny to the extent that this paragraph calls for an improper legal
23
           conclusion. However, Defendants affirmatively assert, Plaintiff failed to
24
25         “be responsible to the Administrator for his/her official actions.”
26      53. Admit.
27
        54.Deny to the extent that this paragraph calls for an improper legal conclusion.
28
29      Dr. Lutz’s Role
30
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 1      55. Admit.
 2
        56. Admit to the extent that the statutes speak for themselves. However,
 3
 4         Defendants affirmatively assert that local health boards can also set job
 5         duties and requirements and the LHO is also required to be responsible to
 6
           the Administrative Officer.
 7
 8
        57. Admit to the extent that the statutes speak for themselves and that the LHO
 9         must follow statutory requirements. However, deny to the extent that there
10
           are other duties and responsibilities that Plaintiff was required to follow and
11
12
           failed to do so.
13   Dr. Lutz’s Job Performance from May 2017 – September 16, 2019
14
        58. Admit to the extent that the document speaks for itself.
15
        59. Admit to the extent that the document speaks for itself.
16
17      Amelia Clark Hired as Administrative Officer
18
        60.Admit to the extent that a search process began. Deny to the extent that
19
           Plaintiff chose not to participate in the process.
20
21      61. Admit.
22
        62. Admit. Defendants affirmatively assert this was not the forum that
23
           performance issues or concerns would be raised.
24
25      Gun Violence, Public Health, and Free Speech
26      63. Without sufficient information to admit or deny and therefore deny the
27
           same.
28
29
30
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 1      64. Without sufficient information to admit or deny and therefore deny the
 2
           mental state of board members. Defendants affirmatively assert that the
 3
 4         District and the LHO are not permitted to lobby or advocate for a position.
 5         Op-Ed pieces are not proper actions in an official capacity. Admit to the
 6
           extent that Bob Lutz has a right to submit an opinion letter in his personal
 7
 8
           capacity, not as the LHO for Spokane Regional Health District. Deny that
 9         any such obligation exists. Defendants further affirmatively assert that the
10
           Board spoke with Plaintiff about offering opinions on behalf of the District
11
12
           without its approval.
13      65. Without sufficient information to admit or deny, therefore deny the same.
14
        66. Admit to the extent that the interim AO discussed Plaintiff’s expression of
15
           his views but deny to the extent that Plaintiff used language designed to
16
17         solicit an opinion at a staff meeting. Defendants affirmatively assert that
18
           the intent of the Health District is to build bridges to better the community
19
           and by offering a divisive statement Plaintiff went directly against the
20
21         District’s intent and purpose of bridging gaps on public health issues which
22
           generally, without more, are already divisive.
23
        67. Without sufficient information to admit or deny and therefore deny the
24
25         same
26      George Floyd, Racism, Public Health and Free Speech
27
        68. Admit.
28
29      69. Deny.
30
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 1      70. Without sufficient information to admit or deny and therefore deny the
 2
           same.
 3
 4      71. Admit to the extent that Washington had a “shelter in place,” Order in place
 5         at that time. As the LHO, Plaintiff chose to ignore the Governor’s Order.
 6
        72. Deny.
 7
 8
        73. Plaintiff fails to identify any “certain” Board members, so without
 9         sufficient information to admit or deny and therefore denies the same.
10
        74. Admit to the extent that a meeting occurred and that he was told to separate
11
12
           his personal views from actions that could be connected to SRHD. Deny to
13         the extent that the issue was that he violated a State Order as the LHO. The
14
           issue was not that he attended a “peaceful race protest.”
15
        75. Admit that a resolution was passed. Admit that Amelia Clark approved an
16
17         op-ed. Deny the remainder the paragraph.
18
        76. Admit. The pressing health issue as of May, 2020 was COVID-19 and the
19
           Department of Health had recommended that Districts address COVID-19
20
21         and schools. Plaintiff was asked to focus on the schools and he refused to
22
           do so.
23
        77. Deny.
24
25      78. Deny.
26      79. Deny to the extent that any disclaimer was required.
27
        Dr. Lutz’s Response to COVID-19
28
29      80. Admit.
30
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 1       81. Admit.
 2
         82. Admit.     Defendants affirmatively assert that LHOs generally were
 3
 4          criticized during COVID because of the differing opinions on COVID in
 5          general.
 6
         83. Admit to the extent that even at the beginning of the COVID-19 protocols,
 7
 8
            the public had very divisive opinions on the response to COVID-19.
 9       84. Admit that it was canceled, deny as to the characterization of “forced.”
10
            Plaintiff was complying with Governor Inslee’s Orders which the District is
11
12
            tasked with following.
13       85. Without sufficient information to admit or deny; admit to the extent that
14
            may people would have had negative opinions about the event being
15
            canceled.
16
17       86. Without sufficient information to admit or deny conversations with Kate
18
            Hudson or Mayor Nadine Woodward. Deny to the extent that this was not
19
            Plaintiff’ Order it was a State Mandate which was divisive.
20
21       87. Without sufficient information to admit or deny and therefore deny the
22
            same.
23
         88. Admit.
24
25       89. Admit.
26       90. Deny to the extent that Defendants do not agree with the characterization
27
            as “push-back.”
28
29       91. Deny
30
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 1       Political Pressure to Reopen the Economy Despite Public Health
 2       Concerns; and Pressure to Fire Dr. Lutz
 3       92. Deny to the extent that Defendants do not agree with the characterization
 4
            as “pressure.”
 5
 6       93. Deny. Defendants further affirmatively assert that Plaintiff was walking
 7          out of meetings and was not an active participant in conversations
 8
            surrounding the tough issues raised by COVID-19.
 9
10
         94.Without sufficient information to admit or deny therefore deny the same.
11       95. Admit.
12
         96. Admit to the extent that the letter was printed in the Spokesman review and
13
14
            speaks for itself. Deny to the extent that the letter as printed shows that
15          Plaintiff was in agreement with the request.
16
         97. Without sufficient information to admit or deny and therefore deny the
17
18
            same.
19       98. Admit to the May, 2020 date which was in line with the State Mandate.
20
            Without sufficient information to admit or deny the remainder of the
21
            paragraph and therefore deny the same. Defendants affirmatively assert that
22
23          there have always been conflicting opinions on COVID-19 precautions,
24
            questions about process and requirements are not a lack of support per se.
25
         99. Admit to the date of the variance. Without sufficient information to admit
26
27          or deny the remainder and therefore deny the same.
28
29
30
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 1       100.      Admit to the extent that the SRHD received complaints continually
 2
            about COVID-19 in particular. Without review of the specific emails
 3
 4          without sufficient information to admit or deny and therefore deny the same.
 5       101.      Deny.
 6
         102.      Admit to the extent that there was significant pressure generally to
 7
 8
            move to Phase 3. Without sufficient information to admit or deny
 9          specifically pressure “on Plaintiff,” therefore deny the remainder of the
10
            paragraph.
11
12
         103.      Admit that a meeting occurred on June 15, 2020 to discuss issues.
13          Deny the remainder of the paragraph.
14
         104.      Admit that there were no formal personnel complaints made, there
15
            were complaints made by citizens. Admit that there was no performance
16
17          evaluation completed.
18
         105.      Deny.
19
         106.      Admit that a letter was sent from the County Commissioners to
20
21          Plaintiff regarding Phase 3 on June 17. Deny the remainder of the paragraph.
22
         107.      Deny.
23
         108.      Without sufficient information to admit or deny the reasons behind
24
25          Plaintiff denial and therefore deny the same. Admit the remainder of the
26          paragraph. However, deny to the extent that the PIP is tied in any way to
27
            Plaintiff’ decision not to move to Phase 3.
28
29
30
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 1       109.      Admit that there was no formal performance plan issued to Plaintiff.
 2
            Deny to the extent that concerns related to his performance were not
 3
 4          discussed with Plaintiff on or about June 24, 2020, including that Plaintiff
 5          was required to attend the regularly scheduled meetings with Ms. Clark.
 6
            Without sufficient information to admit or deny characterization of Ms.
 7
 8
            Kuney’s statement and therefore denies the same.
 9       110.      Admit that a performance improvement plan was drafted. Defendants
10
            affirmatively assert that draft personnel documents are not maintained in
11
12
            personnel files nor given to employees unless formally issued.
13       Pressure on Dr. Lutz Regarding Reopening Schools
14
         111.      Admit.
15
         112.      Deny.
16
17       113.      Admit to the extent that Plaintiff would not communicate directly
18
            with various district opening members and they reached out to Ms. Clark
19
            for assistance.
20
21       Dr. Lutz States Current Data May Require a Return to Phase 2
22
         114.      Without sufficient information to admit or deny to the extent that no
23
            articles have been provided. Admit to the extent that the articles would
24
25          speak for themselves.
26       115.      Admit to the extent that the SRHD received complaints continually
27
            about COVID-19 in particular. Without review of the specific emails
28
29          without sufficient information to admit or deny and therefore deny the same.
30
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 1       October 29, 2020 -- SRHD Board Executive Session
 2
         116.      Admit to the fact that the SRHD board met on October 29. 2020.
 3
 4          Deny to the extent that any connection between Phase 2 and Plaintiff’ job
 5          performance is intimated.
 6
         117.      Admit.
 7
 8
         118.      Admit to the extent that there is nothing in Plaintiff’ personnel files
 9          regarding then current performance issues. Deny the remainder of the
10
            paragraph.
11
12
         119.      Admit.
13       120.      Deny to the extent that the PIP already existed. Admit that there was
14
            a draft Separation Agreement prepared.         Deny the remainder of the
15
            paragraph.
16
17       121.      Deny to the extent that “authorization” was never raised by Plaintiff.
18
         122.      It is unknown what version of the bylaws this allegation refers to so
19
            therefore without sufficient information to admit or deny and therefore deny
20
21          the same.
22
         123.      It is unknown what version of the bylaws this allegation refers to so
23
            therefore without sufficient information to admit or deny and therefore deny
24
25          the same.
26       124.      Deny to the extent that Dr. Lutz’ termination is set forth by Statute
27
            which does not provide for just cause.
28
29
30
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 1       October 29, 2020, SRHD Fires Dr. Lutz
 2
         125.      Admit.
 3
 4       126.      Deny.
 5       127.      Deny.
 6
         128.      Deny.
 7
 8
         129.      Admit to the extent that Ms. Clark contacted Sam Artzis and asked
 9          him to act as an interim health officer. Deny the remainder of the paragraph.
10
         130.      Defendant is without sufficient information to admit or deny and
11
12
            therefore deny the same.
13       131.      Deny.    Defendant’s affirmatively assert that Plaintiff was on
14
            administrative leave.
15
         132.      Deny
16
17       133.      If accurately quoted, Defendants admit that the document speaks for
18
            itself and no answer is required. Defendants deny to the extent that
19
            testimony is not recalled the same by all parties.
20
21       134.      Deny.
22
         135.      Defendants are without sufficient information to admit or deny based
23
            on characterization of “action.”
24
25       136.      Defendants admit that there was an investigation into Dr. Lutz’
26          termination but deny that there was a preliminary “finding” by the State
27
            Board of Health.
28
29
30
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 1       137.       Admit that there was a hearing set and to be heard by an
 2
            Administrative Law Judge. Deny to the extent that it was dismissed because
 3
 4          the “SRHD’s Administrative Officer Agreed to cease being the
 5          Administrative officer ….” Defendants affirmatively assert that the AO,
 6
            Ms. Clark accepted a position in Indiana to escape the persecution by Dr.
 7
 8
            Lutz.
 9       138.       This paragraph calls for a legal conclusion and no answer is required.
10
         139.       Deny.
11
12
         SRHD Tries to Revise and Recharacterize Termination
13       140.       Deny to the extent that this calls for a legal conclusion and no answer
14
            is required.
15
         141.       Calls for a legal conclusion and no answer is required.
16
17       142.       This paragraph calls for a legal conclusion and no answer is
18
            required. Not withstanding, Defendants deny the same.
19
         143.       This paragraph calls for a legal conclusion and no answer is
20
21          required. Not withstanding, Defendants deny the same.
22
         144.       Admit to the extent that Plaintiff was provided a hearing on
23
            November 5, 2020. Deny the remainder of the paragraph.
24
25       145.       Calls for a legal conclusion and no answer is required.
26       146.       Deny.
27
         147.       Deny.
28
29       148.       Deny to the extent that this allegation mischaracterizes testimony.
30
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 1       149.       Without sufficient information to admit or deny and therefore deny
 2
            the same.
 3
 4       150.       Without sufficient information to admit or deny and therefore deny
 5          the same.
 6
         151.       Deny to the extent that witness statements were provided by Plaintiff.
 7
 8
         152.       Admit the meeting was adjourned to an executive session.
 9       153.       Deny to the extent that if this is alleged to be quoted testimony it is
10
            misquoted. Further, deny to the extent that it mischaracterizes testimony.
11
12
         154.       Deny. Defendants affirmatively assert that there is no requirement,
13          legal or otherwise, that provides for any particular “notice and opportunity
14
            to respond.”
15
         155.       If answered, this allegation violates privilege and therefore no answer
16
17          is required. Defendants admit there was an executive session and further
18
            admit that Dr. Lutz was not in attendance.
19
         156.       Deny.
20
21       157.       Without sufficient information to admit or deny and therefore denies
22
            the same to the extent that this paragraph is an assumption and not based on
23
            fact.
24
25       158.       Deny.
26       159.       Deny as to RCW 70.05.050. Defendants deny as to WAPA and
27
            further affirmatively assert that there is no requirement, legal or otherwise,
28
29          that provides for any particular “notice and opportunity to respond.”
30
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 1       160.       Deny.
 2
         161.       Deny.
 3
 4       162.       Deny.
 5       163.       Deny to the falsity of any statement. Without sufficient information
 6
            to admit or deny the remainder of the paragraph and therefore denies the
 7
 8
            same.
 9       164.       Deny.
10
         165.       Admit Dr. Lutz told the AO and Board on November 5, 2020 that he
11
12
            didn’t intend on signing the letter. Deny the remainder of the paragraph.
13       166.       Deny.
14
         167.       Deny.
15
         168.       Admit Dr. Lutz wrote a written response to the allegations at the
16
17          November 5, 2020 meeting.
18
         169.       Deny.
19
         170.       Deny.
20
21       171.       Admit Dr. Lutz wrote a written response to the November 5, 2020
22
            meeting and denied allegations set forth therein.
23
         172.       Deny.
24
25       173.       Deny.
26       174.       Admit Dr. Lutz wrote a written response to the allegations addressed
27
            at the November 5, 2020
28
29       175.       Deny.
30
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 1       176.      Deny.
 2
         177.      Admit Dr. Lutz wrote a written response to the allegations addressed
 3
 4          at the November 5, 2020
 5       178.      Deny.
 6
         179.      Deny.
 7
 8
         180.      Admit Dr. Lutz wrote a written response to the November 5, 2020
 9          meeting and denied allegations set forth therein.
10
         181.      Deny.
11
12
         182.      Deny.
13       183.      Admit Dr. Lutz wrote a written response to the allegations addressed
14
            at the November 5, 2020.
15
         184.      Deny.
16
17       185.      Deny.
18
         186.      Admit Dr. Lutz wrote a written response to the November 5, 2020
19
            meeting and denied allegations set forth therein.
20
21       187.      Deny.
22
         188.      Deny.
23
         189.      Admit Dr. Lutz wrote a written response to the allegations addressed
24
25          at the November 5, 2020
26       190.      Deny.
27
         191.      Deny.
28
29
30
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 1       192.      Admit that Dr. Lutz wrote a written response to the allegations
 2
            addressed at the November 5, 2020 meeting.
 3
 4       193.      Deny.
 5       194.      Deny.
 6
         195.      Admit Dr. Lutz wrote a written response to the allegations addressed
 7
 8
            at the November 5, 2020
 9       196.      Deny.
10
         197.      Deny.
11
12
         198.      Admit Dr. Lutz wrote a written response to the allegations addressed
13          at the November 5, 2020.
14
         199.      Deny.
15
         200.      Deny.
16
17       201.      Admit Dr. Lutz wrote a written response to the allegations addressed
18
            at the November 5, 2020.
19
         202.      Deny.
20
21       203.      Deny.
22
         204.      Admit Dr. Lutz wrote a written response to the allegations addressed
23
            at the November 5, 2020.
24
25       205.      Deny
26       206.      Deny.
27
         207.      Deny.
28
29       208.      Deny.
30
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 1       209.       Deny.
 2
         210.       Deny.
 3
 4                       VI. CAUSES OF ACTION
                         FIRST CAUSE OF ACTION
 5    Wrongful Termination in Violation of SRHD’s Bylaws, RCW 70.05, and
 6                Washington’s Administrative Procedures Act
       211.    Admit or deny as set for above.
 7
 8
         212.       No answer is required as the statute speaks for itself.
 9       213.       No answer is required as the by-laws speak for themselves and calls
10
            for a legal conclusion
11
12
         214.       Admit Plaintiff was hired on about May 17, 2017. Without sufficient
13          information to admit or deny and therefore deny the remainder.
14
         215.       Deny.
15
         216.       Deny.
16
17       217.       Deny.
18
         218.       The correspondence speaks for itself and no answer is required.
19
         219.       Admit.
20
21       220.       Calls for a legal conclusion and no answer is required. However,
22
            Deny.
23
         221.       Deny.
24
25       222.       Deny.
26
27
28
29
30
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 1                     SECOND CAUSE OF ACTION
 2     Wrongful Termination in Violation of RCW 70.05 and RCW 42.30.110
 3       223.      Admit or deny as set forth above.
 4
         224.      Admit.
 5
 6       225.      Admit. This information is privileged attorney client privilege and
 7          protected by the executive session privilege.
 8
         226.      Calls for a legal conclusion and no answer is required.
 9
10          Notwithstanding, Deny.
11       227.      Deny.
12
                         THIRD CAUSE OF ACTION
13        Wrongful Termination –Lack of Notice of the Reason for Removal
14
         228.      Admit or deny as set forth herein.
15
16       229.      Admit that these statutes provide some of the duties of Plaintiff.
17          Defendants affirmatively assert that they are not the only sources of “job
18
            duties and responsibilities” that Plaintiff was required to follow.
19
20       230.      No answer is required as the statute speaks for itself
21       231.      Deny.
22
         232.      Calls for a legal conclusion and no answer is required.
23
24          Notwithstanding, Deny.
25       233.      Deny.
26
         234.      Deny.
27
28
29
30
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 1                       FOURTH CAUSE OF ACTION
 2    Wrongful Termination in Violation of Procedural Due Process Rights of the
      Fifth and Fourteenth Amendments to the U.S. Constitution, 42 U.S.C. §
 3                 1983, and Wash. Const. Article 1, Section 3.
 4
         235.      Admit or deny as set forth above.
 5
 6       236.      Deny.
 7       237.      Deny.
 8
                         FIFTH CAUSE OF ACTION
 9      Wrongful Termination in Violation of Free Speech Rights of the 1st
10    Amendment to the U.S. Constitution, 42 U.S.C. § 1983, and Wash. Const.
                              Article 1, Section 4.
11
12       238.      Admit or deny as set forth above.
13       239.      Deny.
14
         240.      Deny.
15
16                            SIXTH CAUSE OF ACTION
17                                   Defamation
18
19       241.      Admit or deny as set forth above.
20       242.      Deny.
21
         243.      Deny.
22
23       244.      Deny.
24
25
         245.      Deny.
26       246.      Deny.
27
28
29
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 1                           VII. PRAYER FOR RELIEF
 2       1. For answer to prayer for relief 1 of Plaintiff’s Complaint, to the extent that
 3
            any factual allegations are set forth Defendants deny the same.
 4
 5
         2. For answer to prayer for relief 2 of Plaintiff’s Complaint, to the extent that
 6          any factual allegations are set forth Defendants deny the same.
 7
         3. For answer to prayer for relief 3 of Plaintiff’s Complaint, to the extent that
 8
 9
            any factual allegations are set forth Defendants deny the same.
10       4. For answer to prayer for relief 4 of Plaintiff’s Complaint, to the extent that
11
            any factual allegations are set forth Defendants deny the same.
12
13
         5. For answer to prayer for relief 5 of Plaintiff’s Complaint, to the extent that
14          any factual allegations are set forth Defendants deny the same.
15
         6. For answer to prayer for relief 6 of Plaintiff’s Complaint, to the extent that
16
            any factual allegations are set forth Defendants deny the same.
17
18       7. For answer to prayer for relief 7 of Plaintiff’s Complaint, to the extent that
19
            any factual allegations are set forth Defendants deny the same.
20
                                AFFIRMATIVE DEFENSES
21
22          WHEREFORE, having fully answered Plaintiffs Complaint, Defendant
23    asserts these affirmative defenses pursuant to CR 12. Discovery has not yet been
24
      completed and a pending criminal investigation has not yet been completed. These
25
26    answers and affirmative defenses are set forth solely to avoid any motion for
27    default being filed. As a result, Defendant reserves its right to add, strike or modify
28
      its affirmative defenses as discovery progresses and the criminal investigation is
29
30
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 1    completed. Defendant specifically waives no defenses that may be available as
 2
      discovery and the investigation may warrant.
 3
 4          1. Plaintiff’s Complaint fails, in whole or in part, to state claims or causes
 5             of action upon which relief may be granted.
 6
            2. Discovery may reveal Plaintiff’s damages and/or injuries, if any were
 7
 8
               caused by Plaintiffs over whom Defendant had no responsibility or
 9             control.
10
            3. Discovery may reveal Plaintiff’s damages and/or injuries, if any were
11
12
               caused by intervening or supervening causes which were not foreseeable
13             and over which Defendant had no responsibility or control.
14
            4. Defendant reserves the right to amend these affirmative defenses as
15
               dictated by discovery.
16
17          WHEREFORE, having fully answered Plaintiffs’ Complaint, Defendant
18
      prays for relief as follows:
19
            1. An order dismissing, with prejudice, Plaintiffs’ Complaint;
20
21          2. An order awarding Defendant costs and reasonable attorney fees; and
22
            3. An order for such other and further relief as law and equity may allow
23
               following further discovery.
24
25
26
27
28
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 1          DATED: February 26, 2024.
 2
 3                                           EVANS, CRAVEN & LACKIE, P.S.
 4
                                             By s/ Heather C. Yakely
 5                                           HEATHER C. YAKELY, #28848
 6                                           Attorneys for Defendants
 7
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 1                             CERTIFICATE OF SERVICE
 2
            I hereby certify that on February 26, 2024, I electronically filed the
 3
 4    foregoing with the Clerk of the Court using the CM/ECF System which will send
 5
 6
      notification of such filing to the following listed attorneys:
 7                 Robert James Carlson - Bob@leehayes.com
 8                 Caleb Andrew Hatch - caleb.hatch@leehayes.com
 9
10
11                                           /s Heather C. Yakely
12                                           HEATHER C. YAKELY, #28848
                                             Attorneys for Defendants
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